      Case: 1:21-cv-04469 Document #: 1 Filed: 08/23/21 Page 1 of 21 PageID #:1




                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

MOTLEY CRUE INC.,

       Plaintiff,                                            Civil Action No.: 1:21-cv-04469

v.

THE PARTNERSHIPS AND UNINCORPORATED
ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,

       Defendants.

                                          COMPLAINT

       Plaintiff, Motley Crue Inc. (“MÖTLEY CRÜE” or “Plaintiff”), hereby files this Complaint

against the Partnerships and Unincorporated Associations identified on Schedule A attached hereto

(collectively, “Defendants”), and for its Complaint hereby alleges as follows:

                                 JURISDICTION AND VENUE

       1.      This Court has original subject matter jurisdiction over the claims in this action

pursuant to the provisions of the Lanham Act, 15 U.S.C. § 1051 et seq. 28 U.S.C. § 1338(a)–(b)

and 28 U.S.C. § 1331. This Court has jurisdiction over the claims in this action that arise under the

laws of the State of Illinois pursuant to 28 U.S.C. § 1367(a) because the state law claims are so

related to the federal claims that they form part of the same case or controversy and derive from a

common nucleus of operative facts.

       2.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391, and this Court may

properly exercise personal jurisdiction over Defendants since each of the Defendants directly

targets consumers in the United States, including Illinois, through at least the fully interactive

commercial internet stores operating under the Defendant Internet Stores and/or the online

marketplace accounts identified in Schedule A attached hereto (collectively, the “Defendant
      Case: 1:21-cv-04469 Document #: 1 Filed: 08/23/21 Page 2 of 21 PageID #:2




Internet Stores” and/or “Online Stores”). Specifically, Defendants are reaching out to do business

with Illinois residents by operating one or more commercial, interactive internet stores through

which Illinois residents can purchase products bearing counterfeit versions of Plaintiff’s

trademarks. Each of the Defendants has targeted sales from Illinois residents by operating online

stores that offer shipping to the United States, including Illinois, accept payment in U.S. dollars

and, on information and belief, has sold products bearing counterfeit versions of Plaintiff’s

federally registered trademarks to residents of Illinois. Each of the Defendants is committing

tortious acts in Illinois, is engaging in interstate commerce, and has wrongfully caused Plaintiff

substantial injury in the State of Illinois.

        3.       This Court has personal jurisdiction over each Defendant, in that each Defendant

conducts significant business in Illinois and in this judicial district, and the acts and events giving

rise to this lawsuit of which each Defendant stands accused were undertaken in Illinois and in this

judicial district.

                                          INTRODUCTION

        4.       This action has been filed by Plaintiff to combat online counterfeiters who trade upon

Plaintiff’s reputation and goodwill by selling and/or offering for sale products in connection with

Plaintiff’s MÖTLEY CRÜE Trademarks, which are covered by U.S. Trademark Registration Nos.

3,264,871; 3,683,197; 1,407,430; and 3,941,074 (collectively, the “MÖTLEY CRÜE

Trademarks”). The registrations are valid, subsisting, unrevoked, uncancelled, and incontestable

pursuant to 15 U.S.C. § 1065. The registrations for the trademarks constitute prima facie evidence

of validity and of Plaintiff’s exclusive right to use the trademarks pursuant to 15 U.S.C. § 1057(b).

A genuine and authentic copy of each U.S. federal trademark registration certificate for each of

the MÖTLEY CRÜE Trademarks is attached as Exhibit 1.




                                                  2
      Case: 1:21-cv-04469 Document #: 1 Filed: 08/23/21 Page 3 of 21 PageID #:3




       5.      In the past, MÖTLEY CRÜE was able to police its marks against identifiable

infringers and counterfeiters. The rise of online retailing, coupled with the ability of e-commerce

sites to hide their identities, has made it nearly impossible for policing actions to be undertaken.

The company has availed itself of takedown procedures to remove infringing products, but these

efforts have proved to be an unavailing game of whack-a-mole against the mass counterfeiting that

is occurring over the internet. The aggregated effect of the mass counterfeiting that is taking place

has overwhelmed Plaintiff and its ability to police its rights against the hundreds of anonymous

defendants which are selling illegal counterfeits at prices substantially below an original:

                                            ORIGINAL




                                                3
      Case: 1:21-cv-04469 Document #: 1 Filed: 08/23/21 Page 4 of 21 PageID #:4




                                          COUNTERFEIT




       6.      The above example evidences a cooperative counterfeiting network using fake

eCommerce storefronts designed to appear to be selling authorized products. To be able to offer the

counterfeit products at a price substantially below the cost of the original, while still being able to

turn a profit after absorbing the costs of manufacturing, advertising and shipping, requires an

economy of scale only achievable through a cooperative effort throughout the supply chain. As

Homeland Security’s recent report confirms, counterfeiters act in concert through coordinated supply

chains and distribution networks to unfairly compete with legitimate brand owners while generating

huge profits for the illegal counterfeiting network:

       Historically, many counterfeits were distributed through swap meets and individual
       sellers located on street corners. Today, counterfeits are being trafficked
       through vast e-commerce supply chains in concert with marketing, sales, and
       distribution networks. The ability of e-commerce platforms to aggregate
       information and reduce transportation and search costs for consumers provides a
       big advantage over brick-and-mortar retailers. Because of this, sellers on digital
       platforms have consumer visibility well beyond the seller’s natural geographical
       sales area.



                                                 4
      Case: 1:21-cv-04469 Document #: 1 Filed: 08/23/21 Page 5 of 21 PageID #:5




                                                ...
       The impact of counterfeit and pirated goods is broader than just unfair competition.
       Law enforcement officials have uncovered intricate links between the sale of
       counterfeit goods and transnational organized crime. A study by the Better
       Business Bureau notes that the financial operations supporting counterfeit
       goods typically require central coordination, making these activities attractive
       for organized crime, with groups such as the Mafia and the Japanese Yakuza
       heavily involved. Criminal organizations use coerced and child labor to
       manufacture and sell counterfeit goods. In some cases, the proceeds from
       counterfeit sales may be supporting terrorism and dictatorships throughout the
       world.
                                                ...
       Selling counterfeit and pirated goods through e-commerce is a highly profitable
       activity: production costs are low, millions of potential customers are available
       online, transactions are convenient, and listing on well-branded e-commerce
       platforms provides an air of legitimacy.

See Department of Homeland Security, Combating Trafficking in Counterfeit and Pirated Goods,
Jan. 24, 2020, (https://www.dhs.gov/publication/combating-trafficking-counterfeit-and-pirated-
goods), at 10, 19 (emphasis added) attached hereto as Exhibit 2.

       7.      The Defendant Internet Stores share unique identifiers, such as design elements and

similarities of the unauthorized products offered for sale, establishing a logical relationship between

them, and suggesting that Defendants’ illegal operations arise out of the same transaction,

occurrence, or series of transactions or occurrences. Defendants also use templates with common

design elements that omit information identifying Defendants. Defendants use aliases to avoid

liability by going to great lengths to conceal both their identities as well as the full scope and

interworking of their illegal network. Despite deterrents such as takedowns and other measures, the

use of aliases enables counterfeiters to stymie authorities:

       The scale of counterfeit activity online is evidenced as well by the significant efforts
       e-commerce platforms themselves have had to undertake. A major e-commerce
       platform reports that its proactive efforts prevented over 1 million suspected bad
       actors from publishing a single product for sale through its platform and blocked
       over 3 billion suspected counterfeit listings from being published to their
       marketplace. Despite efforts such as these, private sector actions have not been
       sufficient to prevent the importation and sale of a wide variety and large volume of
       counterfeit and pirated goods to the American public.
                                                  ...



                                                  5
      Case: 1:21-cv-04469 Document #: 1 Filed: 08/23/21 Page 6 of 21 PageID #:6




        A counterfeiter seeking to distribute fake products will typically set up one or more
        accounts on online third-party marketplaces. The ability to rapidly proliferate third-
        party online marketplaces greatly complicates enforcement efforts, especially for
        intellectual property rights holders. Rapid proliferation also allows counterfeiters
        to hop from one profile to the next even if the original site is taken down or blocked.
        On these sites, online counterfeiters can misrepresent products by posting pictures
        of authentic goods while simultaneously selling and shipping counterfeit versions.
                                                 ...
        Not only can counterfeiters set up their virtual storefronts quickly and easily, but
        they can also set up new virtual storefronts when their existing storefronts are shut
        down by either law enforcement or through voluntary initiatives set up by other
        stakeholders such as market platforms, advertisers, or payment processors.

Id. at 5, 11, 12.

        8.      eCommerce giant Alibaba has also made public its efforts to control counterfeiting

on its platform. It formed a special task force that worked in conjunction with Chinese authorities

for a boots-on-the-ground effort in China to stamp out counterfeiters. In describing the counterfeiting

networks it uncovered, Alibaba expressed its frustration in dealing with “vendors, affiliated dealers

and factories” that rely upon fictitious identities that enable counterfeiting rings to play whack-a-

mole with authorities:




                                                 6
      Case: 1:21-cv-04469 Document #: 1 Filed: 08/23/21 Page 7 of 21 PageID #:7




See Xinhua, Fighting China’s Counterfeits in the Online Era, China Daily (Sept. 19, 2017), available
at www.chinadaily.com.cn/business/2017-09/19/content_32200290.htm (Exhibit 3).

       9.      Plaintiff has been and continues to be irreparably damaged through consumer

confusion, dilution, loss of control over its reputation and goodwill as well as the quality of goods

bearing the MÖTLEY CRÜE Trademarks. The rise of eCommerce as a method of supplying goods

to the public exposes brand holders and creators that make significant investments in their products

to significant harm from counterfeiters:

       Counterfeiting is no longer confined to street-corners and flea markets. The
       problem has intensified to staggering levels, as shown by a recent Organisation for
       Economic Cooperation and Development (OECD) report, which details a 154
       percent increase in counterfeits traded internationally — from $200 billion in 2005
       to $509 billion in 2016. Similar information collected by the U.S. Department of
       Homeland Security (DHS) between 2000 and 2018 shows that seizures of
       infringing goods at U.S. borders have increased 10-fold, from 3,244 seizures per
       year to 33,810.
                                                 …

       The rise in consumer use of third-party marketplaces significantly increases the
       risks and uncertainty for U.S. producers when creating new products. It is no longer


                                                7
      Case: 1:21-cv-04469 Document #: 1 Filed: 08/23/21 Page 8 of 21 PageID #:8




        enough for a small business to develop a product with significant local consumer
        demand and then use that revenue to grow the business regionally, nationally, and
        internationally with the brand protection efforts expanding in step. Instead, with the
        international scope of e-commerce platforms, once a small business exposes itself
        to the benefits of placing products online — which creates a geographic scope far
        greater than its more limited brand protection efforts can handle — it begins to face
        increased foreign infringement threat.

                                                  ...

        Moreover, as costs to enter the online market have come down, such market entry
        is happening earlier and earlier in the product cycle, further enhancing risk. If a new
        product is a success, counterfeiters will attempt, often immediately, to outcompete
        the original seller with lower-cost counterfeit and pirated versions while avoiding
        the initial investment into research and design.
                                                  ...

        Counterfeiters have taken full advantage of the aura of authenticity and trust that
        online platforms provide. While e-commerce has supported the launch of thousands
        of legitimate businesses, their models have also enabled counterfeiters to easily
        establish attractive “store-fronts” to compete with legitimate businesses.

        See Combating Trafficking in Counterfeit and Pirated Goods, Jan. 24, 2020,

(Exhibit 2) at 4, 8, 11.

        10.     Not only are the creators and brand holders harmed, but the public is also harmed:

        The rapid growth of e-commerce has revolutionized the way goods are bought and
        sold, allowing for counterfeit and pirated goods to flood our borders and penetrate
        our communities and homes. Illicit goods trafficked to American consumers by e-
        commerce platforms and online third-party marketplaces threaten public health and
        safety, as well as national security. This illicit activity impacts American innovation
        and erodes the competitiveness of U.S. manufacturers and workers.

        The President’s historic memorandum provides a much warranted and long overdue
        call to action in the U.S. Government’s fight against a massive form of illicit trade
        that is inflicting significant harm on American consumers and businesses. This
        illicit trade must be stopped in its tracks.

Id. at 3, 4. (Underlining in original).

        11.     Plaintiff’s investigation shows that the telltale signs of an illegal counterfeiting ring

are present in the instant action. For example, Schedule A shows the use of store names by the




                                                  8
       Case: 1:21-cv-04469 Document #: 1 Filed: 08/23/21 Page 9 of 21 PageID #:9




Defendant Internet Stores that employ no normal business nomenclature and, instead, have the

appearance of being made up, or if a company that appears to be legitimate is used, online research

shows that there is no known address for the company. Thus, the Defendant Online Stores are using

fake online storefronts designed to appear to be selling genuine Plaintiff products, while selling

inferior imitations of Plaintiff’s products. The Defendant Online Stores also share unique identifiers,

such as design elements and similarities of the counterfeit products offered for sale, establishing a

logical relationship between them, and suggesting that Defendants’ illegal operations arise out of the

same transaction, occurrence, or series of transactions or occurrences. Defendants attempt to avoid

liability by going to great lengths to conceal both their identities and the full scope and interworking

of their illegal counterfeiting operation. Plaintiff is forced to file this action to combat Defendants’

counterfeiting of Plaintiff’s registered trademarks, as well as to protect unknowing consumers from

purchasing unauthorized MÖTLEY CRÜE products over the internet.

        12.      This Court has personal jurisdiction over each Defendant, in that each Defendant

conducts significant business in Illinois and in this judicial district, and the acts and events giving

rise to this lawsuit of which each Defendant stands accused were undertaken in Illinois and in this

judicial district. In addition, each Defendant has offered to sell and ship infringing products into this

judicial district.

                                          THE PLAINTIFF

        13.      Motley Crue Inc., is the business entity for the iconic heavy metal band MÖTLEY

CRÜE. It is a corporation having its principal place of business in Santa Monica, California.

MÖTLEY CRÜE has been in existence since 1981 and has since accumulated worldwide album

sales exceeding 100M, 7 platinum and multi-platinum albums, 22 Top 40 mainstream rock hits, 6

Top 20 pop singles, 3 Grammy nominations, 4 New York Times best-sellers, and has even received




                                                  9
    Case: 1:21-cv-04469 Document #: 1 Filed: 08/23/21 Page 10 of 21 PageID #:10




a star on the Hollywood Walk of Fame. MÖTLEY CRÜE remains prominent today with the band

scheduled to go on tour in 2022, having launched a new collection of band merchandise and also

releasing digital remasters of some of their best-selling albums, such as “Girls, Girls, Girls,” “Dr.

Feelgood” and “Theatre of Pain” in 2021. MÖTLEY CRÜE remains active and is an official

source of authentic MÖTLEY CRÜE products.

       14.     Plaintiff is engaged in the business of manufacturing, distributing and retailing

high-quality concert merchandise including within the Northern District of Illinois District

(collectively, the “Plaintiff Products”) under the Federally registered MÖTLEY CRÜE

Trademarks. Defendants’ sales of Counterfeit Products in violation of Plaintiff’s intellectual

property rights are irreparably damaging Plaintiff.

       15.     Plaintiff’s brand, symbolized by the MÖTLEY CRÜE Trademarks, is a recognized

symbol of high-quality merchandise. The MÖTLEY CRÜE Trademarks are distinctive and

identify the merchandise as goods from Plaintiff. The registrations for the MÖTLEY CRÜE

Trademarks constitute prima facie evidence of their validity and of Plaintiff’s exclusive right to

use the MÖTLEY CRÜE Trademarks pursuant to 15 U.S.C. § 1057 (b).

       16.     The MÖTLEY CRÜE Trademarks have been continuously used and never

abandoned.

       17.     Plaintiff has expended substantial time, money, and other resources in developing,

advertising, and otherwise promoting the MÖTLEY CRÜE Trademarks. As a result, products

bearing the MÖTLEY CRÜE Trademarks are widely recognized and exclusively associated by

consumers, the public, and the trade as being products sourced from Plaintiff.




                                                10
     Case: 1:21-cv-04469 Document #: 1 Filed: 08/23/21 Page 11 of 21 PageID #:11




                                       THE DEFENDANTS

        18.    Defendants are individuals and business entities who, upon information and belief,

reside in the People’s Republic of China or other foreign jurisdictions. Defendants conduct

business throughout the United States, including within Illinois and in this judicial district, through

the operation of the fully interactive commercial websites and online marketplaces operating under

the Defendant Internet Stores. Each Defendant targets the United States, including Illinois, and has

offered to sell and, on information and belief, has sold and continues to sell counterfeit MÖTLEY

CRÜE products to consumers within the United States, including Illinois and in this judicial

district.

                       THE DEFENDANTS’ UNLAWFUL CONDUCT

        19.    The success of the MÖTLEY CRÜE brand has resulted in its significant

counterfeiting. Defendants conduct their illegal operations through fully interactive commercial

websites hosted on various e-commerce sites, such as ContextLogic, Inc. (“WISH”) and Amazon

etc. Each Defendant targets consumers in the United States, including the State of Illinois, and has

offered to sell and, on information and belief, has sold and continues to sell counterfeit products

that violate Plaintiff’s intellectual property rights (“Counterfeit Products”) to consumers within the

United States, including the State of Illinois.

        20.    The Defendant Online Stores intentionally conceal their identities and the full scope

of their counterfeiting operations in an effort to deter Plaintiff from learning Defendants’ true

identities and the exact interworking of Defendants’ illegal counterfeiting operations. Through

their operation of the infringing online stores, Defendants are directly and personally contributing

to, inducing and engaging in the sale of Counterfeit Products as alleged, oftentimes as partners,

co-conspirators and/or suppliers. Upon information and belief, Defendants are an interrelated




                                                  11
    Case: 1:21-cv-04469 Document #: 1 Filed: 08/23/21 Page 12 of 21 PageID #:12




group of counterfeiters working in active concert to knowingly and willfully manufacture, import,

distribute, offer for sale, and sell Counterfeit Products.

       21.     Upon information and belief, at all times relevant hereto, the Defendants in this

action have had full knowledge of Plaintiff’s ownership of the MÖTLEY CRÜE Trademarks,

including its exclusive right to use and license such intellectual property and the goodwill

associated therewith.

       22.     Defendants often go to great lengths to conceal their identities by often using

multiple fictitious names and addresses to register and operate their massive network of online

stores. Other Defendant Internet Stores often use privacy services that conceal the owners’ identity

and contact information. Upon information and belief, Defendants regularly create new websites

and online marketplace accounts on various platforms using the identities listed in Schedule A to

the Complaint, as well as other unknown fictitious names and addresses. Such Defendant Internet

Store registration patterns are one of many common tactics used by the Defendants to conceal their

identities, the full scope and interworking of their massive counterfeiting operation, and to avoid

being shut down.

       23.     The counterfeit MÖTLEY CRÜE products for sale in the Defendant Internet Stores

bear similarities and indicia of being related to one another, suggesting that the counterfeit

MÖTLEY CRÜE products were manufactured by and come from a common source and that, upon

information and belief, Defendants are interrelated. The Defendant Internet Stores also include

other notable common features, including use of the same store name registration patterns, unique

shopping cart platforms, accepted payment methods, check-out methods, metadata, illegitimate

SEO tactics, HTML user-defined variables, lack of contact information, identically or similarly




                                                  12
     Case: 1:21-cv-04469 Document #: 1 Filed: 08/23/21 Page 13 of 21 PageID #:13




priced items and volume sales discounts, similar hosting services, similar name servers, and the

use of the same text and images.

       24.     In addition to operating under multiple fictitious names, Defendants in this case and

defendants in other similar cases against online counterfeiters use a variety of other common tactics

to evade enforcement efforts. For example, counterfeiters like Defendants will often register new

online marketplace accounts under new aliases once they receive notice of a lawsuit.

Counterfeiters also often move website hosting to rogue servers located outside the United States

once notice of a lawsuit is received. Rogue servers are notorious for ignoring takedown demands

sent by brand owners. Counterfeiters also typically ship products in small quantities via

international mail to minimize detection by U.S. Customs and Border Protection. A 2019 U.S.

Customs and Border Protection report on seizure statistics indicated that E-Commerce sales have

contributed to large volumes of low-value packages imported into the United States. Department

of    Homeland        Security,     Intellectual        Property   Rights,     September       2020.

(https://www.cbp.gov/sites/default/files/assets/documents/2020-

Sep/FY%202019%20IPR%20Statistics%20Book%20%28Final%29.pdf), at 12 attached hereto as

Exhibit 4. In FY 2019, there were 144 million express shipments and 463 million international

mail shipments. Over 90 percent of all intellectual property seizures occur in the international mail

and express environments. Id.

       25.     Further, counterfeiters such as Defendants, typically operate multiple credit card

merchant accounts and third-party accounts, such as PayPal, Inc. ("PayPal") accounts, behind

layers of payment gateways so that they can continue operating despite Plaintiff’s enforcement

efforts. Upon information and belief, Defendants maintain off-shore bank accounts and regularly

move funds from their PayPal accounts to off-shore bank accounts outside the jurisdiction of this




                                                   13
    Case: 1:21-cv-04469 Document #: 1 Filed: 08/23/21 Page 14 of 21 PageID #:14




Court. Indeed, analysis of PayPal transaction logs from previous similar cases indicates that

offshore counterfeiters regularly move funds from U.S.-based PayPal accounts to China-based

bank accounts outside the jurisdiction of this Court.

       26.     Upon information and belief, Defendants also deceive unknowing consumers by

using the MÖTLEY CRÜE Trademarks without authorization within the content, text, and/or meta

tags of their websites to attract various search engines crawling the internet looking for websites

relevant to consumer searches for MÖTLEY CRÜE products. Additionally, upon information and

belief, Defendants use other unauthorized search engine optimization (SEO) tactics and social

media spamming so that the Defendant Internet Store listings show up at or near the top of relevant

search results and misdirect consumers searching for genuine MÖTLEY CRÜE products. Further,

Defendants utilize similar illegitimate SEO tactics to propel new online marketplace accounts to

the top of search results after others are shut down.

       27.     Defendants’ use of the MÖTLEY CRÜE Trademarks on or in connection with the

advertising, marketing, distribution, offering for sale and sale of the Counterfeit Products is likely

to cause and has caused confusion, mistake and deception by and among consumers and is

irreparably harming Plaintiff. Defendants have manufactured, imported, distributed, offered for

sale and sold Counterfeit Products using the MÖTLEY CRÜE Trademarks and continue to do so.

       28.     Defendants, without authorization or license from Plaintiff, knowingly and

willfully used and continue to use the MÖTLEY CRÜE Trademarks in connection with the

advertisement, offer for sale and sale of the Counterfeit Products, through, inter alia, the internet.

The Counterfeit Products are not genuine MÖTLEY CRÜE Plaintiff Products. Plaintiff did not

manufacture, inspect or package the Counterfeit Products and did not approve the Counterfeit

Products for sale or distribution. The Defendant Internet Stores offer shipping to the United States,




                                                 14
     Case: 1:21-cv-04469 Document #: 1 Filed: 08/23/21 Page 15 of 21 PageID #:15




including Illinois, and, on information and belief, each Defendant has sold Counterfeit Products

into the United States, including Illinois.

        29.    Defendants also deceive unknowing consumers by using the MÖTLEY CRÜE

Trademarks without authorization within the content, text, and/or meta tags of their websites in

order to attract various search engines crawling the internet looking for websites relevant to

consumer searches for MÖTLEY CRÜE Products and in consumer product searches within the

website.

        30.    Upon information and belief, Defendants will continue to register or acquire listings

for the purpose of selling Counterfeit Goods that infringe upon the MÖTLEY CRÜE Trademarks

unless preliminarily and permanently enjoined.

        31.    Defendants’ use of the MÖTLEY CRÜE Trademarks in connection with the

advertising, distribution, offering for sale, and sale of counterfeit MÖTLEY CRÜE products,

including the sale of counterfeit MÖTLEY CRÜE products into Illinois, is likely to cause and has

caused confusion, mistake, and deception by and among consumers and is irreparably harming

Plaintiff.

                             COUNT I
      TRADEMARK INFRINGEMENT AND COUNTERFEITING (15 U.S.C. § 1114)

        32.    Plaintiff repeats and incorporates by reference herein its allegations contained in

the above paragraphs of this Complaint.

        33.    This is a trademark infringement action against Defendants based on their

unauthorized use in commerce of counterfeit imitations of the registered MÖTLEY CRÜE

Trademarks in connection with the sale, offering for sale, distribution, and/or advertising of

infringing goods. The MÖTLEY CRÜE Trademarks are highly distinctive marks. Consumers have




                                                 15
    Case: 1:21-cv-04469 Document #: 1 Filed: 08/23/21 Page 16 of 21 PageID #:16




come to expect the highest quality from Plaintiff’s products provided under the MÖTLEY CRÜE

Trademarks.

       34.     Defendants have sold, offered to sell, marketed, distributed, and advertised, and are

still selling, offering to sell, marketing, distributing, and advertising products in connection with

the MÖTLEY CRÜE Trademarks without Plaintiff’s permission.

       35.     Plaintiff is the exclusive owner of the MÖTLEY CRÜE Trademarks. Plaintiff’s

United States Registrations for the MÖTLEY CRÜE Trademarks (Exhibit 1) are in full force and

effect. Upon information and belief, Defendants have knowledge of Plaintiff’s rights in the

MÖTLEY CRÜE Trademarks, and are willfully infringing and intentionally using counterfeits of

the MÖTLEY CRÜE Trademarks. Defendants’ willful, intentional and unauthorized use of the

MÖTLEY CRÜE Trademarks is likely to cause and is causing confusion, mistake and deception

as to the origin and quality of the counterfeit goods among the general public.

       36.     Defendants’ activities constitute willful trademark infringement and counterfeiting

under Section 32 of the Lanham Act, 15 U.S.C. § 1114.

       37.     Plaintiff has no adequate remedy at law, and if Defendants’ actions are not enjoined,

Plaintiff will continue to suffer irreparable harm to its reputation and the goodwill of its well-

known MÖTLEY CRÜE Trademarks.

       38.     The injuries and damages sustained by Plaintiff have been directly and proximately

caused by Defendants’ wrongful reproduction, use, advertisement, promotion, offering to sell, and

sale of counterfeit MÖTLEY CRÜE products.




                                                16
     Case: 1:21-cv-04469 Document #: 1 Filed: 08/23/21 Page 17 of 21 PageID #:17




                                  COUNT II
                 FALSE DESIGNATION OF ORIGIN (15 U.S.C. § 1125(a))

        39.    Plaintiff repeats and incorporates by reference herein its allegations contained in

the above paragraphs of this Complaint.

        40.    Defendants’ promotion, marketing, offering for sale, and sale of counterfeit

MÖTLEY CRÜE products has created and is creating a likelihood of confusion, mistake, and

deception among the general public as to the affiliation, connection, or association with Plaintiff or

the origin, sponsorship, or approval of Defendants’ counterfeit MÖTLEY CRÜE products by

Plaintiff.

        41.    By using the MÖTLEY CRÜE Trademarks in connection with the sale of

counterfeit MÖTLEY CRÜE products, Defendants create a false designation of origin and a

misleading representation of fact as to the origin and sponsorship of the counterfeit MÖTLEY

CRÜE products.

        42.    Defendants’ false designation of origin and misrepresentation of fact as to the origin

and/or sponsorship of the counterfeit MÖTLEY CRÜE products to the general public is a willful

violation of Section 43 of the Lanham Act, 15 U.S.C. § 1125.

        43.    Plaintiff has no adequate remedy at law and, if Defendants’ actions are not enjoined,

Plaintiff will continue to suffer irreparable harm to its reputation and the goodwill of its brand.


                              COUNT III
    VIOLATION OF ILLINOIS UNIFORM DECEPTIVE TRADE PRACTICES ACT
                                          (815 CS § 510, et seq.)

        44.    Plaintiff repeats and incorporates by reference herein its allegations contained in

the above paragraphs of this Complaint.




                                                 17
    Case: 1:21-cv-04469 Document #: 1 Filed: 08/23/21 Page 18 of 21 PageID #:18




       45.      Defendants have engaged in acts violating Illinois law including, but not limited to,

passing off their counterfeit MÖTLEY CRÜE products as those of Plaintiff, causing a likelihood

of confusion and/or misunderstanding as to the source of their goods, causing a likelihood of

confusion and/or misunderstanding as to an affiliation, connection, or association with genuine

MÖTLEY CRÜE products, representing that their products have Plaintiff’s approval when they

do not, and engaging in other conduct which creates a likelihood of confusion or misunderstanding

among the public.

       46.      The foregoing Defendants’ acts constitute a willful violation of the Illinois Uniform

Deceptive Trade Practices Act, 815 ILCS § 510, et seq.

       47.      Plaintiff has no adequate remedy at law, and Defendants’ conduct has caused

Plaintiff to suffer damage to its reputation and goodwill. Unless enjoined by the Court, Plaintiff

will suffer future irreparable harm as a direct result of Defendants’ unlawful activities.


                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays for judgment against Defendants as follows:


       1) That Defendants, their affiliates, officers, agents, employees, attorneys, and all persons

acting for, with, by, through, under, or in active concert with them be temporarily preliminarily,

and permanently enjoined and restrained from:

       a. using the MÖTLEY CRÜE Trademarks or any reproductions, counterfeit copies, or

             colorable imitations thereof in any manner in connection with the distribution,

             marketing, advertising, offering for sale, or sale of any product that is not a genuine

             MÖTLEY CRÜE product or is not authorized by Plaintiff to be sold in connection with

             the MÖTLEY CRÜE Trademarks;




                                                 18
Case: 1:21-cv-04469 Document #: 1 Filed: 08/23/21 Page 19 of 21 PageID #:19




  b. passing off, inducing, or enabling others to sell or pass off any product as a genuine

     MÖTLEY CRÜE product or any other product produced by Plaintiff that is not

     Plaintiff’s or not produced under the authorization, control, or supervision of Plaintiff

     and approved by Plaintiff for sale under the MÖTLEY CRÜE Trademarks;

  c. committing any acts calculated to cause consumers to believe that Defendants’

     counterfeit MÖTLEY CRÜE products are those sold under the authorization, control,

     or supervision of Plaintiff, or are sponsored by, approved by, or otherwise connected

     with Plaintiff;

  d. further infringing the MÖTLEY CRÜE Trademarks and damaging Plaintiff’s goodwill;

  e. otherwise competing unfairly with Plaintiff in any manner;

  f. shipping, delivering, holding for sale, transferring or otherwise moving, storing,

     distributing, returning, or otherwise disposing of, in any manner, products or inventory

     not manufactured by or for Plaintiff, nor authorized by Plaintiff to be sold or offered for

     sale, and which bear any Plaintiff trademarks, including the MÖTLEY CRÜE

     Trademarks, or any reproductions, counterfeit copies, or colorable imitations thereof;

  g. using, linking to, transferring, selling, exercising control over, or otherwise owning the

     online marketplace accounts, the Defendant Online Stores, or any other online

     marketplace account that is being used to sell or is the means by which Defendants could

     continue to sell counterfeit MÖTLEY CRÜE products; and

  h. operating and/or hosting websites at the Defendant Online Stores and any online

     marketplace accounts registered or operated by Defendants that are involved with the

     distribution, marketing, advertising, offering for sale, or sale of any product bearing the

     MÖTLEY CRÜE Trademarks or any reproduction, counterfeit copy or colorable



                                           19
    Case: 1:21-cv-04469 Document #: 1 Filed: 08/23/21 Page 20 of 21 PageID #:20




           imitation thereof that is not a genuine MÖTLEY CRÜE product or not authorized by

           Plaintiff to be sold in connection with the MÖTLEY CRÜE Trademarks.

       2) That Defendants, within fourteen (14) days after service of judgment with notice of entry

thereof upon them, be required to file with the Court and serve upon Plaintiff a written report under

oath setting forth in detail the manner and form in which Defendants have complied with paragraph 1,

a through h, above;

       3) Entry of an Order that, upon Plaintiff’s request, those in privity with Defendants and

those with notice of the injunction, including any online marketplaces such as, but not limited to,

Amazon and WISH, social media platforms, Facebook, YouTube, LinkedIn, Twitter, internet

search engines such as Google, Bing and Yahoo, web hosts for the Defendant Online Stores, and

online marketplace account registrars, shall:

       a. disable and cease providing services for any accounts through which Defendants

           engage in the sale of counterfeit MÖTLEY CRÜE products using the MÖTLEY CRÜE

           Trademarks, including any accounts associated with the Defendants listed on Schedule

           A;

       b. disable and cease displaying any advertisements used by or associated with Defendants

           in connection with the sale of counterfeit MÖTLEY CRÜE products using the

           MÖTLEY CRÜE Trademarks; and

       c. take all steps necessary to prevent links to the Defendant Online Stores identified on

           Schedule A from displaying in search results, including, but not limited to, removing

           links to the Defendant Online Stores from any search index;

       5) That Defendants account for and pay to Plaintiff all profits realized by Defendants by

reason of Defendants’ unlawful acts herein alleged, and that the amount of damages for



                                                20
    Case: 1:21-cv-04469 Document #: 1 Filed: 08/23/21 Page 21 of 21 PageID #:21




infringement of the MÖTLEY CRÜE Trademarks be increased by a sum not exceeding three times

the amount thereof as provided by 15 U.S.C. § 1117;

       6) In the alternative, that Plaintiff be awarded statutory damages pursuant to 15 U.S.C. §

1117(c)(2) of $2,000,000 for each and every use of the MÖTLEY CRÜE Trademarks;

       7) That Plaintiff be awarded its reasonable attorneys’ fees and costs; and

       8) Award any and all other relief that this Court deems just and proper.

DATED: August 23, 2021                              Respectfully submitted,

                                                    /s/ Keith A. Vogt
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                                                    ATTORNEY FOR PLAINTIFF




                                              21
